2:22-cv-01286-RMG   Date Filed 04/01/22   Entry Number 1-1   Page 1 of 52




                    EXHIBIT A
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date BY
                       HAS NOT YET BEEN REVIEWED Filed
                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)           1-1    Page INDEX
                                                                                                         2 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                                  RECEIVED NYSCEF: 02/28/2022




             SUPREME COURT OF THE STATE OF NEW YORK
             NEW YORK COUNTY
             ----------------------------------------------------------------------X
             JASON MEADOWS; AND DAVID JETT,
                                                                                       Index No. _________/2022
                                        Plaintiffs,
                                                                                       SUMMONS

             -against -                                                                Venue is designated pursuant to
                                                                                       CPLR § 503(a) & (c) in that
             THE 3M COMPANY, f/k/a Minnesota Mining and                                NEW YORK in this county.
             Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
             AMEREX CORPORATION, ARKEMA INC.,
             ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
             COMPANY, CARRIER GLOBAL CORPORATION,
             CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
             CHEMICALS, INC., CLARIANT CORPORATION,
             individually and as successor in interest to Sandoz Chemical
             Corporation, CORTEVA, INC., individually and as
             successor in interest to DuPont Chemical Solutions
             Enterprise, DEEPWATER CHEMICALS, INC., DUPONT
             DE NEMOURS INC., individually and as successor in
             interest to DuPont Chemical Solutions Enterprise, DYNAX
             CORPORATION, E. I. DUPONT DE NEMOURS AND
             COMPANY, individually and as successor in interest to
             DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
             INC., individually and as successor in interest to Kidde Fire
             Fighting, Inc., NATION FORD CHEMICAL COMPANY,
             THE CHEMOURS COMPANY, individually and as
             successor in interest to DuPont Chemical Solutions
             Enterprise, THE CHEMOURS COMPANY FC, LLC,
             individually and as successor in interest to DuPont
             Chemical Solutions Enterprise, and TYCO FIRE
             PRODUCTS, LP, individually and as successor in interest
             to The Ansul Company, and DOE DEFENDANTS 1-20,
             fictitious names whose present identities are unknown,

                                Defendants.
             ----------------------------------------------------------------------X

            To the above-named Defendant:

                    You are hereby summoned to answer the Complaint in this action, and to serve a copy of

            your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of

            Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,


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                 2:22-cv-01286-RMG
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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 3 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            exclusive of the day of service, where service is made by delivery upon you personally within the

            state, or, within thirty (30) days after completion of service where service is made in any other

            manner. In case of your failure to appear or answer, judgment will be taken against you by default

            for the relief demanded in the Complaint.

            Dated: New York, New York
                   February 28, 2022

                                                                        Napoli Shkolnik, PLLC
                                                                        Attorneys for Plaintiff

                                                                        /s/ Patrick J. Lanciotti
                                                                        Patrick J. Lanciotti, Esq.
                                                                        360 Lexington Avenue, 11th Floor
                                                                        New York, New York 10017
                                                                        212-397-1000
                                                                        PLanciotti@napolilaw.com

            To:

            3M COMPANY
            c/o Corporation Service Company
            251 Little Falls Drive
            Wilmington, New Castle, DE 19808

            AGC CHEMICALS AMERICAS INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            AMEREX CORPORATION
            c/o James M. Proctor II
            2900 Highway 280
            Suite 300
            Birmingham, AL 35223




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                 2:22-cv-01286-RMG
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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 4 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            ARCHROMA U.S. INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            ARKEMA INC.
            900 First Avenue
            King of Prussia, PA 19406

            BUCKEYE FIRE EQUIPMENT COMPANY
            c/o A Haon Corporate Agent, Inc.
            29225 Chagrin Blvd, Suite 350
            Pepper Pike, OH 44122

            CARRIER GLOBAL CORPORATION
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            CHEMDESIGN PRODUCTS INC.
            c/o Corporation Service Company
            251 Little Falls Drive
            Wilmington, New Castle, DE, 19808

            CHEMGUARD INC.
            c/o The Prentice-Hall Corporation System, Inc.
            251 Little Falls Drive
            Wilmington, New Castle, DE, 19808

            CHEMICALS, INC.
            c/o Ashok K. Moza
            12321 Hatcherville
            Baytown, TX 77520

            CLARIANT CORPORATION
            c/o Corporation Service Company
            8040 Excelsior Drive, Suite 400
            Madison, WI 53717




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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 5 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            CORTEVA, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DEEPWATER CHEMICALS, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DUPONT DE NEMOURS INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DYNAX CORPORATION
            c/o Corporate Systems LLC
            3500 S. Dupont Highway
            Dover, DE 19901

            E. I. DUPONT DE NEMOURS AND COMPANY
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            KIDDE-FENWAL, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            NATION FORD CHEMICAL COMPANY
            c/o John A. Dickson, IV
            2300 Bank Street
            Fort Mill, SC 29715




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CAUTION: THIS DOCUMENT                     Date BY
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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 6 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            THE CHEMOURS COMPANY
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            THE CHEMOURS COMPANY FC, LLC
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            TYCO FIRE PRODUCTS LP
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801




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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date BY
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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 7 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            SUPREME COURT OF THE STATE OF NEW YORK
            NEW YORK COUNTY

            JASON MEADOWS; AND DAVID JETT,

                           Plaintiffs,

            -vs -

            THE 3M COMPANY, f/k/a Minnesota Mining and                      Index No. _________/2022
            Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
            AMEREX CORPORATION, ARKEMA INC.,                                COMPLAINT AND DEMAND
            ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT                      FOR JURY TRIAL
            COMPANY, CARRIER GLOBAL CORPORATION,
            CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.                        Trial by jury is desired in the
            CHEMICALS, INC., CLARIANT CORPORATION,                          County of New York
            individually and as successor in interest to Sandoz Chemical
            Corporation, CORTEVA, INC., individually and as successor       Venue is designated pursuant to
            in interest to DuPont Chemical Solutions Enterprise,            CPLR § 503(a) & (c) in that the
            DEEPWATER CHEMICALS, INC., DUPONT DE                            causes of action occurred in this
            NEMOURS INC., individually and as successor in interest to
                                                                            county.
            DuPont Chemical Solutions Enterprise, DYNAX
            CORPORATION, E. I. DUPONT DE NEMOURS AND
            COMPANY, individually and as successor in interest to
            DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
            INC., individually and as successor in interest to Kidde Fire
            Fighting, Inc., NATION FORD CHEMICAL COMPANY,
            THE CHEMOURS COMPANY, individually and as
            successor in interest to DuPont Chemical Solutions
            Enterprise, THE CHEMOURS COMPANY FC, LLC,
            individually and as successor in interest to DuPont Chemical
            Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
            individually and as successor in interest to The Ansul
            Company, and DOE DEFENDANTS 1-20, fictitious names
            whose present identities are unknown,

                           Defendants.



                                  COMPLAINT AND DEMAND FOR JURY TRIAL

                    Plaintiffs JASON MEADOWS AND DAVID JETT (“Plaintiffs”), by and through the

            undersigned counsel, hereby files this Complaint against Defendants, 3M COMPANY, f/k/a

            Minnesota Mining and Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX


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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)   1-1    Page INDEX
                                                                                                 8 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            CORPORATION, ARKEMA INC., ARCHROMA U.S INC., BUCKEYE FIRE EQUIPMENT

            COMPANY, CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS INC.,

            CHEMGUARD INC., CHEMICALS, INC., CLARIANT CORPORATION, CORTEVA, INC.,

            DEEPWATER         CHEMICALS,        INC.,    DUPONT        DE    NEMOURS         INC.,   DYNAX

            CORPORATION, E. I. DUPONT DE NEMOURS AND COMPANY, KIDDE-FENWAL, INC.,

            NATION       FORD    CHEMICAL        COMPANY,        THE    CHEMOURS           COMPANY,      THE

            CHEMOURS COMPANY FC, LLC, and TYCO FIRE PRODUCTS, LP, and DOE

            DEFENDANTS 1-20, fictitious names whose present identifies are unknown                (collectively

            “Defendants”) and alleges, upon information and belief, as follows:

                                                   INTRODUCTION

                    1.     This action arises from the foreseeable contamination of groundwater by the use

            of aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

            substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

            (“PFOA”).

                    2.     PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

            PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

            firefighting suppressant agents used in training and firefighting activities for fighting Class B

            fires. Class B fires include fires involving hydrocarbon fuels such as petroleum or other

            flammable liquids.

                    3.     PFOS and PFOA are mobile, persist indefinitely in the environment,

            bioaccumulate in individual organisms and humans, and biomagnify up the food chain. PFOS

            and PFOA are also associated with multiple and significant adverse health effects in humans,

            including but not limited to kidney cancer, testicular cancer, high cholesterol, thyroid disease,

            ulcerative colitis, and pregnancy-induced hypertension.
                                                            2
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                 2:22-cv-01286-RMG
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                                                    THE 04/01/22    Entry
                                                        COUNTY CLERK. (See Number
                                                                           below.)    1-1    Page INDEX
                                                                                                  9 of 52NO. UNASSIGNED
NYSCEF DOC. NO. 1                                                                           RECEIVED NYSCEF: 02/28/2022




                    4.     At various times from the 1960s through today, Defendants designed,

            manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA,

            and/or their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or

            sold the fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF

            (collectively, “AFFF/Component Products”).

                    5.     Defendants     designed,   manufactured,     marketed,    distributed,   and/or   sold

            AFFF/Component Products with the knowledge that these toxic compounds would be released

            into the environment during fire protection, training, and response activities, even when used as

            directed and intended by Defendants.

                    6.     Since its creation in the 1960s, AFFF designed, manufactured, marketed,

            distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

            designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

            intended by Defendants, and subsequently released into the environment during fire protection,

            training, and response activities, resulting in widespread PFAS contamination.

                    7.     Due to this contamination, Plaintiffs have suffered real personal injuries,

            bioaccumulation of PFAS in their bodies, property damage and the diminution in value of their

            properties as a result of the release of PFAS to their water supplies.

                    8.     Plaintiffs have suffered an assortment of diseases and medical conditions as a

            direct result of their exposure to the PFAS contamination of their water supply.

                    9.     Plaintiffs, as residents and those who visited, worked, or otherwise dwelled in the

            Site area, have been unknowingly exposed for many years to PFAS, including at concentrations

            hazardous to their health.




                                                              3
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                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)    1-1     Page 10 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                           RECEIVED NYSCEF: 02/28/2022




                    10.     Plaintiffs’ unwitting exposure to PFAS in their water supply as a result of the

            Defendants’ conduct, is the direct and proximate cause of Plaintiffs’ injuries.

                    11.     Plaintiffs’ property has been damaged as a result of the presence of the PFAS in

            their water supply.

                    12.     Plaintiffs seek recovery from Defendants for injuries, damages, and losses

            suffered by the Plaintiffs as a result of exposure to the introduction of PFAS and other toxic

            substance into their water supply, and then into their properties and bodies, in an amount to be

            determined at trial, exclusive of interest, costs, and attorneys’ fees.

                                              JURISDICTION AND VENUE

                    13.     This Court has jurisdiction because Defendant Dynax Corporation’s principal

            place of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                    14.     Venue is proper in this District under CPLR §503 (a) because the events,

            omissions and harms that are the basis of Plaintiffs claims occurred in substantial party in this

            District.

                    15.     This Court has personal jurisdiction over Defendants by virtue of each

            Defendants’ regular and systematic contacts with New York, including, among other things,

            purposefully marketing, selling and/or distributing their AFFF/Component Products to and

            within New York, and because they have the requisite minimum contacts with New York

            necessary to constitutionally permit the Court to exercise jurisdiction over them consistent with

            traditional notions of fair play and substantial justice.

                                                          PARTIES

                    A.      Plaintiffs

                    16.     Plaintiff Jason Meadows resides at 731 Phlox Avenue, Metairie, Louisana.

            Plaintiff was formerly stationed at NAS Oceana, VA from 1989 – 1991; NS Mayport, Floirda

                                                               4
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                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 11 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            from 1983 – 1989; NWS Joint Base Chaerleston in 1983; and NS San Diego, California in 1982

            (hereinafter the “Site”) and was living on base at the Site during that time. While living on base

            at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

            containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

            result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Jason Meadow’s exposure, Plaintiff has been

            diagnosed with hypothyroidism, thyroid disease, high blood pressure, and high cholesterol.

                      17.   Plaintiff David Jett resides at P.O. Box 173, Morehard, Kentucky. Plaintiff was

            formerly stationed at NAS Corpus Christie, TX from 1987 – 1989; NS Mayport, Floirda from

            1983 – 1989; NWS Joint Base Chaerleston in 1983; and NS San Diego, California in 1982

            (hereinafter the “Site”) and was living on base at the Site during that time. While living on base

            at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

            containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

            result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health.

                      18.   Personnel at the Site stored, handled, used, trained with, tested equipment with,

            otherwise discharged AFFF products in their facility, therefore contaminating groundwater

            supplies in the vicinity of the base.

                      19.   Plaintiffs have been exposed to PFAS, have elevated levels of these contaminants

            in their blood, and are at an increased risk of health effects, changes in thyroid hormone, kidney

            cancer, and other autoimmune diseases.

                      20.   Plaintiffs have a legitimate fear of developing additional injuries as a result of

            their exposure to PFAS, including but not limited to effects on the liver and immune system,



                                                            5
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                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 12 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            high cholesterol levels, changes in thyroid hormone, kidney cancer and other autoimmune

            diseases.

                    B.       Defendants

                    21.      The term “Defendants” refers to all Defendants named herein jointly and

            severally.

                               i.   The AFFF Defendants

                    22.      The term “AFFF Defendants” refers collectively to Defendants 3M Company,

            Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment

            Company, Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products

            GP Holding, LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., and Tyco Fire

            Products L.P.,

                    23.      Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing

            Co. (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with

            its principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

                    24.      Beginning before 1970 and until at least 2002, 3M designed, manufactured,

            marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

            PFOS.

                    25.      Defendant Amerex Corporation (“Amerex”) is a corporation organized and

            existing under the laws of the State of Alabama, with its principal place of business located at

            7595 Gadsden Highway, Trussville, AL 35173.

                    26.      Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

            manufacturer of hand portable and wheeled extinguishers for commercial and industrial

            applications.



                                                            6
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                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 13 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                    27.    In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

            manufacturers of AFFF products in Europe.

                    28.    On information and belief, beginning in 2011, Amerex designed, manufactured,

            marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

            PFOS.

                    29.    Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

            under the laws of the State of Delaware, with its principal place of business located at One

            Stanton Street, Marinette, Wisconsin 54143-2542.

                    30.    Tyco is the successor in interest of The Ansul Company (“Ansul”), having

            acquired Ansul in 1990.

                    31.    Beginning in or around 1975, Ansul designed, manufactured, marketed,

            distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                    32.    After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design,

            manufacture, market, distribute, and sell AFFF products containing PFAS, including but not

            limited to PFOA and PFOS.

                    33.    Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

            the laws of the State of Texas, with its principal place of business located at One Stanton Street,

            Marinette, Wisconsin 54143.

                    34.    On information and belief, Chemguard designed, manufactured, marketed,

            distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

            PFOS.

                    35.    On information and belief, Chemguard was acquired by Tyco International Ltd. in

            2011.



                                                            7
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 14 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                    36.    On information and belief, Tyco International Ltd. later merged into its subsidiary

            Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

            Ireland.

                    37.    Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

            organized under the laws of the State of Ohio, with its principal place of business located at 110

            Kings Road, Kings Mountain, North Carolina 28086.

                    38.    On information and belief, Buckeye designed, manufactured, marketed,

            distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

            PFOS.

                    39.    Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

            under the laws of the State of Delaware, with its principal place of business at One Financial

            Plaza, Hartford, Connecticut 06101.

                    40.    On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

            P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

            Corporation.

                    41.    On information and belief, Kidde-Fenwal is the entity that divested the AFFF

            business unit now operated by National Foam in 2013.

                    42.    Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

            under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

            Boulevard, Palm Beach Gardens, Florida 33418.

                    43.    On information and belief, Carrier was formed in March 2020 when United

            Technologies Corporation spun off its fire and security business before it merged with Raytheon

            Company in April 2020.



                                                            8
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accepted for filing by the County Clerk.                                                                      13 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 15 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                     44.   On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

            United Technologies Corporation spun off its fire and security business in March 2020.

                     45.   On information and belief, the AFFF Defendants designed, manufactured,

            marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

            precursors that were stored, handled, used, trained with, tested equipment with, otherwise

            discharged, and/or disposed at the Sites.

                             ii.   The Fluorosurfactant Defendants

                     46.   The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M,

            Arkema Inc., ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals, Inc.,

            E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

            LLC, DuPont de Nemours Inc., and Dynax Corporation.

                     47.   Defendant Arkema Inc. is a corporation organized and existing under the laws

            of Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA

            19406.

                     48.   Arkema Inc. develops specialty chemicals and polymers.

                     49.   Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                     50.   On information and belief, Arkema Inc. designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products.

                     51.   Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

            organized under the laws of Delaware, with its principal place of business located at 2 Stanton

            Street, Marinette, WI, 54143.




                                                            9
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
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accepted for filing by the County Clerk.                                                                      14 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 16 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   52.     On information and belief, ChemDesign designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products

                   53.     Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation

            organized under the laws of Delaware, with its principal place of business located at 196122 E

            County Road 40, Woodward, OK, 73801.

                   54.     On information and belief, Deepwater Chemicals designed, manufactured,

            marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

            precursors for use in AFFF products

                   55.     Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

            laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

            Drive, Elmsford, New York 10523.

                   56.     On information and belief, Dynax entered into the AFFF market on or about 1991

            and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

            containing PFOS, PFOA, and/or their chemical precursors.

                   57.     On information and belief, Dynax designed, manufactured, marketed, distributed,

            and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

            chemical precursors for use in AFFF products.

                   58.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

            organized under the laws of the State of Delaware, with its principal place of business located at

            974 Centre Road, Wilmington, Delaware 19805.




                                                            10
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accepted for filing by the County Clerk.                                                                      15 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 17 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   59.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

            company organized under the laws of the State of Delaware, with its principal place of business

            located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                   60.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

            along with vast environmental liabilities which Chemours Co. assumed, including those related

            to PFOS and PFOA and fluorosurfactants.         On information and belief, Chemours Co. has

            supplied fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to

            manufacturers of AFFF products.

                   61.     On information and belief, Chemours Co. was incorporated as a subsidiary of

            DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-

            owned subsidiary of DuPont.

                   62.     In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

            “performance chemicals” business line, which includes its fluoroproducts business, distributing

            shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

            independent, publicly-traded company.

                   63.     Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

            liability company organized under the laws of the State of Delaware, with its principal place of

            business located at 1007 Market Street, Wilmington, Delaware, 19899.

                   64.     Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

            under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

            Delaware 19805.

                   65.     Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

            Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its



                                                           11
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accepted for filing by the County Clerk.                                                                      16 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 18 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H.

            Dow Way, Midland, Michigan 48674.

                   66.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

            off of Corteva.

                   67.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

            Corteva was a wholly-owned subsidiary of DowDuPont.

                   68.        On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

            and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

            distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                   69.        Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

            agriculture and nutritional businesses.

                   70.        On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva

            and of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be

            known as DuPont (“New DuPont”). New DuPont retained assets in the specialty products

            business lines following the above-described spin-offs, as well as the balance of the financial

            assets and liabilities of E.I DuPont not assumed by Corteva.

                   71.        Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

            The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

            referred to as “DuPont” throughout this Complaint.

                   72.        On information and belief, DuPont designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products.




                                                             12
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accepted for filing by the County Clerk.                                                                      17 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 19 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   73.     On information and belief, 3M and Chemguard also designed, manufactured,

            marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

            precursors for use in AFFF products.

                   74.     On information and belief, the Fluorosurfactant Defendants designed,

            manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

            their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

            tested equipment with, otherwise discharged, and/or disposed at the Sites.

                            iii.   The PFC Defendants

                   75.     The term “PFC Defendants” refers collectively to 3M, AGC Chemicals

            Americas Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant

            Corporation, Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The

            Chemours Company, The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours

            Inc., and Nation Ford Chemical Company.

                   76.     Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

            and existing under the laws of Delaware, having its principal place of business at 55 East

            Uwchlan Avenue, Suite 201, Exton, PA 19341.

                   77.     On information and belief, AGC Chemicals Americas, Inc. was formed in 2004

            and is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its

            a principal place of business in Tokyo, Japan.

                   78.     AGC manufactures specialty chemicals. It offers glass, electronic displays, and

            chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

            and various fluorointermediates.




                                                             13
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accepted for filing by the County Clerk.                                                                      18 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 20 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   79.     On information and belief, AGC designed, manufactured, marketed, distributed,

            and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                   80.     Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

            existing under the laws of Delaware, with its a principal place of business at 5435 77 Center

            Drive, Charlotte, North Carolina 28217.

                   81.     On information and belief, Archroma was formed in 2013 when Clariant

            Corporation divested its textile chemicals, paper specialties, and emulsions business to SK

            Capital Partners.

                   82.     On information and belief, Archroma designed, manufactured, marketed,

            distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                   83.     Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

            existing under the laws of Texas, with its principal place of business located at 12321

            Hatcherville, Baytown, TX 77520.

                   84.     On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

            PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

            AFFF products.

                   85.     Defendant Clariant Corporation (“Clariant”) is a corporation organized and

            existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

            Charlotte, North Carolina 28205.




                                                           14
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accepted for filing by the County Clerk.                                                                      19 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 21 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   86.     On information and belief, Clariant is the successor in interest to the specialty

            chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

            Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                   87.     On information and belief, Clariant supplied PFCs containing PFOS, PFOA,

            and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

            products.

                   88.     Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

            organized and existing under the laws of South Carolina, with its principal place of business

            located at 2300 Banks Street, Fort Mill, SC 29715.

                   89.     On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

            and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

            products.

                   90.     On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

            also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                   91.     On information and belief, the Fluorochemical Defendants supplied PFCs

            containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the

            fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

            equipment with, otherwise discharged, and/or disposed at the Sites.

                            iv.   Doe Defendants 1-20

                   92.     Doe Defendants 1-20 are unidentified entities or persons whose names are

            presently unknown and whose actions, activities, omissions (a) may have permitted, caused

            and/or contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may

            be vicariously responsible for entities or persons who permitted, caused and/or contributed to the
                                                           15
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accepted for filing by the County Clerk.                                                                      20 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 22 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

            entities or persons who permitted, caused and/or permitted , contributed to the contamination of

            Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain

            the Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff

            as they are not linked with any of the Defendants on any public source.

                   93.     The Doe Defendants 1-20 either in their own capacity or through a party they are

            liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

            containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

            marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

            AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

            designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

            precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

            precursors; or (3) failed to timely perform necessary and reasonable response and remedial

            measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

            products containing PFOS, PFOA, and/or their chemical precursors in to the environment in

            which Plaintiff’s water supplies and well exist.

                   94.     All Defendants, at all times material herein, acted by and through their respective

            agents, servants, officers and employees, actual or ostensible, who then and there were acting

            within the course and scope of their actual or apparent agency, authority or duties. Defendants

            are liable based on such activities, directly and vicariously.

                   95.     Defendants represent all or substantially all of the market for AFFF/Component

            Products at the Sites.

                    FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION



                                                               16
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 23 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   A.      PFOA and PFOS and Their Risk to Public Health

                   96.     PFAS are chemical compounds containing fluorine and carbon. These substances

            have been used for decades in the manufacture of, among other things, household and

            commercial products that resist heat, stains, oil, and water. These substances are not naturally

            occurring and must be manufactured.

                   97.     The two most widely studied types of these substances are PFOA and PFOS.

                   98.     PFOA and PFOS have unique properties that cause them to be: (i) mobile and

            persistent, meaning that they readily spread into the environment where they break down very

            slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

            organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

            humans and animals.

                   99.     PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

            spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the

            soil into groundwater, where they can travel significant distances.

                   100.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

            bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,

            chemically, and biologically stable. They resist degradation due to light, water, and biological

            processes.

                   101.    Bioaccumulation occurs when an organism absorbs a substance at a rate faster

            than the rate at which the substance is lost by metabolism and excretion. Biomagnification

            occurs when the concentration of a substance in the tissues of organisms increases as the

            substance travels up the food chain.

                   102.    PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

            relatively stable once ingested, so that they bioaccumulate in individual organisms for significant
                                                            17
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approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 24 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

            any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                   103.    PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

            humans eat fish that have ingested PFOA and/or PFOS.

                   104.    The chemical structure of PFOA and PFOS makes them resistant to breakdown or

            environmental degradation. As a result, they are persistent when released into the environment.

                   105.    Exposure to PFAS is toxic and poses serious health risks to humans and animals.

                   106.    PFAS are readily absorbed after consumption or inhalation and accumulate

            primarily in the bloodstream, kidney, and liver.

                   B.      Defendants’ Manufacture and Sale of AFFF/Component Products

                   107.    AFFF is a type of water-based foam that was first developed in the 1960s to

            extinguish hydrocarbon fuel-based fires.

                   108.    AFFF is a Class-B firefighting foam. It is mixed with water and used to

            extinguish fires that are difficult to fight, particularly those that involve petroleum or other

            flammable liquids.

                   109.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

            agents with fluorosurfactants. When mixed with water, the resulting solution produces an

            aqueous film that spreads across the surface of hydrocarbon fuel. This film provides fire

            extinguishment and is the source of the designation aqueous film-forming foam.

                   110.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

            distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS,

            PFOA, or the chemical precursors that degrade into PFOS and PFOA.




                                                               18
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 25 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   111.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS,

            and/or their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release

            PFOA, PFOS, and/or their precursor chemicals into the environment.

                   112.    AFFF that contains fluorosurfactants, however, is better at extinguishing

            hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

            smothering the fire and starving it of oxygen.

                   113.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

            patented process of electrochemical fluorination (“ECF”).

                   114.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

            were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

                   115.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

            fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

            manufactured, marketed, distributed and/or sold by the PFC Defendants.

                   116.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

            that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

            sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

            sold by the AFFF Defendants.

                   117.    On information and belief, the PFC and Fluorosurfactant Defendants designed,

            manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in

            the AFFF products discharged into the environment at the Site during fire protection, training,

            and response activities, resulting in widespread PFAS contamination.

                   118.    On information and belief, the AFFF Defendants designed, manufactured,

            marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site



                                                             19
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
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approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      24 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)             1-1     Page 26 of 52NO. UNASSIGNED
                                                                                                            INDEX
NYSCEF DOC. NO. 1                                                                                    RECEIVED NYSCEF: 02/28/2022




            during fire protection, training, and response activities, resulting in widespread PFAS

            contamination.

                      C.       Defendants’ Knowledge of the Threats to Public Health and the Environment
                               Posed by PFOS and PFOA

                      119.     On information and belief, by at least the 1970s 3M and DuPont knew or should

            have known that PFOA and PFOS are mobile and persistent, bioaccumulative and

            biomagnifying, and toxic.

                      120.     On information and belief, 3M and DuPont concealed from the public and

            government agencies its knowledge of the threats to public health and the environment posed by

            PFOA and PFOS.

                      121.     Some or all of the Defendants understood how stable the fluorinated surfactants

            used in AFFF are when released into the environment from their first sale to a customer, yet they

            failed to warn their customers or provide reasonable instruction on how to manage wastes

            generated from their products.

                                  i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

                      122.     In 1947, 3M started its fluorochemical program, and within four years, it began

            selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

            contained in AFFF products were understood prior to their commercial application at 3M’s

            Cottage Grove facility in Minnesota.

                      123.     The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

            ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do

            not react with any of the metals at ordinary temperatures and react only with the more chemically

            reactive metals such as sodium, at elevated temperatures.”1


                1
                    Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available at

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accepted for filing by the County Clerk.                                                                      25 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)           1-1     Page 27 of 52NO. UNASSIGNED
                                                                                                          INDEX
NYSCEF DOC. NO. 1                                                                                  RECEIVED NYSCEF: 02/28/2022




                    124.     Simons further reported that fluorosurfactants produced by the ECF process do

            not react with other compounds or reagents due to the blanket of fluorine atoms surrounding the

            carbon skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

            prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

            natural processes in the environment.2

                    125.     The thermal stability of 3M’s fluorosurfactants was also understood prior to

            commercial production. Simons’ patent application further discloses that the fluorosurfactants

            produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

            Additional research by 3M expanded the understanding of the thermal stability of

            perfluorocarbon compounds.3

                    126.     Nowhere in any Material Safety Data Sheet for any of Defendants’

            AFFF/Component Products is information on the thermal stability of those products disclosed.

            Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

            products to customers is a failure to warn just how indestructible the AFFF’s ingredients are

            when released to unprotected water sources and even treatment plants.

                               ii.   1960s: AFFF’s Environmental Hazards Come into Focus

                    127.     By at least the end of the 1960s, additional research and testing performed by 3M

            and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

            chemical structure, were resistant to environmental degradation and would persist in the

            environment essentially unaltered if allowed to enter the environment.


            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
                 2
                   Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
                3
                 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry, 1(13):
            423-462.

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filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      26 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)     1-1     Page 28 of 52NO. UNASSIGNED
                                                                                                    INDEX
NYSCEF DOC. NO. 1                                                                            RECEIVED NYSCEF: 02/28/2022




                    128.    One 3M employee wrote in 1964: “This chemical stability also extends itself to

            all types of biological processes; there are no known biological organisms that are able to attack

            the carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its

            surfactants were immune to chemical and biological degradation in soils and groundwater.

                    129.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

            fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

            perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-

            143 (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility

            in soils for both compounds.5

                             iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                                    Risks

                    130.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

            not degrade when released to the environment, but would remain intact and persist. Two decades

            later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

            finally got around to looking at the environmental risks that fluorosurfactants posed.

                    131.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

            sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

            least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

            was released into the environment.




                4
                    Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
                5
                   Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.
                6
                  Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
            available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.

                                                              22
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)          1-1     Page 29 of 52NO. UNASSIGNED
                                                                                                         INDEX
NYSCEF DOC. NO. 1                                                                                 RECEIVED NYSCEF: 02/28/2022




                      132.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

            understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

            biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as

            “unsurprising” in light of the fact that “[b]iodegradation of FC 95 is improbable because it is

            completely fluorinated.”7

                      133.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

            acknowledged that releasing AFFF into the environment could pose potential negative impacts to

            groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

            experimental AFFF formulations that would exhibit reduced impact on the environment while

            retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

            desired in the environmental area, i.e., development of compositions that have a reduced impact

            on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the

            mid-1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence

            that Ansul (or any other Defendant) ever pursued initiatives to do so.

                      134.    A 1978 3M biodegradation study likewise reported that an “extensive study

            strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

            unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its

            fluorosurfactants “was found to be completely resistant to biological test conditions,” and that it

            appeared waterways were the fluorosurfactant’s “environmental sink.”10


                7
                    Technical Report Summary, August 12, 1976 [3MA01252037].
                8
                  Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
            1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.
                9
                  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
            Fluorocarbons - II, Jan. 1, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
                10
                   Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
            Fluorocarbons          -        III,         July         19,          1978,         available          at

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This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
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accepted for filing by the County Clerk.                                                                      28 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)           1-1      Page 30 of 52NO. UNASSIGNED
                                                                                                           INDEX
NYSCEF DOC. NO. 1                                                                                    RECEIVED NYSCEF: 02/28/2022




                     135.   In 1979, 3M also completed a comprehensive biodegradation and toxicity study

            covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

            AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

            to the environmental impact of these chemicals.” The report ominously asked, “If these materials

            are not biodegradable, what is their fate in the environment?”

                     136.   During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

            accumulated in the human body and were “even more toxic” than previously believed.

                     137.   In 1975, 3M learns that PFAS was present in the blood of the general population.12

            Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

            possibility that their products were a source of this PFOS. The finding also should have alerted

            3M to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying,

            as those characteristics could explain how PFOS from 3M's products ended up in human blood.

                     138.   In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

            ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

            3M to the same issues raised by the prior year’s findings.

                     139.   Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

            minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to



            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
                11
                    Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
                12
                  Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma, Aug. 20,
            1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
                 13
                      3M     Chronology     –    Fluorochemicals  in  Blood,       Aug.      26,     1977,    available   at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
                14
                    The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and Survival of
            Fry           of          Fathead         Minnow,            June          1978,          available         at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
                15
                     Ninety-Day   Subacute    Rhesus    Monkey    Toxicity   Study,   Dec.     18,    1978,   available   at

                                                                 24
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which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      29 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)         1-1     Page 31 of 52NO. UNASSIGNED
                                                                                                        INDEX
NYSCEF DOC. NO. 1                                                                                 RECEIVED NYSCEF: 02/28/2022




            rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

            food contaminated with PFOS.

                       140.     In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

            workers and came to the same conclusion that there was “no reason” to notify the EPA of the

            finding.17

                                 iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                       141.     By at least the end of the 1980s, additional research and testing performed by

            Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain

            cancers and other adverse health effects, including elevated liver enzymes and birth defects, had

            been observed among workers exposed to such materials, including at least PFOA, but such data

            was not published, provided to governmental entities as required by law, or otherwise publicly

            disclosed at the time.

                       142.     In 1981, DuPont tested for and found PFOA in the blood of female plant workers

            Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

            workers, finding two of seven children born to female plant workers between 1979 and 1981 had

            birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect.18

                       143.     In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

            for environmental safety,” including “legitimate questions about the persistence, accumulation



            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan. 2, 1979,
            available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
                16
                     Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90 Day
            Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20, 1979, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
                17
                   Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of Fluorochemicals
            in Blood, July 26, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.
                18
                     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.

                                                                      25
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which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      30 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)         1-1     Page 32 of 52NO. UNASSIGNED
                                                                                                        INDEX
NYSCEF DOC. NO. 1                                                                                RECEIVED NYSCEF: 02/28/2022




            potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M

            completed a study finding that PFOS caused the growth of cancerous tumors in rats.20 This

            finding was later shared with DuPont and led them to consider whether “they may be obliged

            under their policy to call FC-143 a carcinogen in animals.”21

                     144.   In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

            workers, leading one of the company’s medical officers to warn in an internal memo: “we must

            view this present trend with serious concern. It is certainly possible that . . . exposure

            opportunities are providing a potential uptake of fluorochemicals that exceeds excretion

            capabilities of the body.”22

                     145.   A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

            listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that

            the product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993

            studies conducted jointly by 3M and DuPont” as support for this statement. On information and

            belief, the MSDS for 3M’s AFFF products did not provide similar warnings or information.

                              v.     Defendants Hid What They Knew from the Government and the Public.

                     146.   Federal law requires chemical manufacturers and distributors to immediately

            notify the EPA if they have information that “reasonably supports the conclusion that such




                19
                    3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
                20
                  Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4,
            Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
                 21
                    Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
            Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
                 22
                    Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

                                                                 26
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      31 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 33 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            substance or mixture presents a substantial risk of injury to health or the environment.” Toxic

            Substances Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                   147.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

            being cited for 244 violations of the TSCA, which included violations for failing to disclose

            studies regarding PFOS, PFOA, and other PFCs dating back decades.

                   148.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

            Environmental Administrative Penalty in Agency History” against DuPont based on evidence

            that it violated the TSCA by concealing the environmental and health effects of PFOA.

                   149.    On information and belief, Defendants knew or should have known that AFFF

            containing PFOA or PFOS would very likely injure and/or threaten public health and the

            environment, even when used as intended or directed.

                   150.    Defendants failed to warn of these risks to the environment and public health,

            including the impact of their AFFF/Component Products on the quality of unprotected water

            sources.

                   151.    Defendants were all sophisticated and knowledgeable in the art and science of

            designing, formulating, and manufacturing AFFF/Component Products. They understood far

            more about the properties of their AFFF/Component Products—including the potential hazards

            they posed to human health and the environment—than any of their customers. Still, Defendants

            declined to use their sophistication and knowledge to design safer products.

                   D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
                           Finally Revealed

                   152.    As discussed above, neither 3M, DuPont, nor, on information and belief, any

            other Defendant complied with their obligations to notify EPA about the “substantial risk of




                                                           27
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      32 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1      Page 34 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                            RECEIVED NYSCEF: 02/28/2022




            injury to health or the environment” posed by their AFFF/Component Products. See TSCA §

            8(e).

                    153.    Despite decades of research, 3M first shared its concerns with EPA in the late

            1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

            found in the blood of animals, which is true but omits the most significant information,”

            according to a former 3M employee.23

                    154.    On information and belief, 3M began in 2000 to phase out its production of

            products that contained PFOS and PFOA in response to pressure from the EPA.

                    155.    Once the truth about PFOS and PFOA was revealed, researchers began to study

            the environmental and health effects associated with them, including a “C8 Science Panel”

            formed out of a class action settlement arising from contamination from DuPont’s Washington

            Works located in Wood County, West Virginia.

                    156.    The C8 panel consisted of three epidemiologists specifically tasked with

            determining whether there was a probable link between PFOA exposure and human diseases. In

            2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

            ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

            hypercholesterolemia.

                    157.    Human health effects associated with PFOS exposure include immune system

            effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and

            high cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of

            tumors, changed hormone levels, and affected the function of the liver, thyroid, pancreas, and

            immune system.

                 23
                        Letter        from       R.      Purdy,     Mar.       28,   1999,       available   at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

                                                               28
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      33 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)       1-1     Page 35 of 52NO. UNASSIGNED
                                                                                                      INDEX
NYSCEF DOC. NO. 1                                                                              RECEIVED NYSCEF: 02/28/2022




                    158.    The injuries caused by PFAS can arise months or years after exposure.

                    159.    Even after the C8 Science Panel publicly announced that human exposure to 50

            parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

            with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

            disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

            and represented to governmental entities, their customers, and the public (and continue to do so)

            that the presence of PFOA in human blood at the levels found within the United States presents

            no risk of harm and is of no legal, toxicological, or medical significance of any kind.

                    160.    Furthermore, Defendants have represented to and assured such governmental

            entities, their customers, and the public (and continue to do so) that the work of the independent

            C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

            effects upon and/or any risk to humans with respect to PFOA in human blood.

                    161.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

            minimized, trivialized, manipulated, and/or otherwise influenced the information that was

            published in peer-review journals, released by any governmental entity, and/or otherwise made

            available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

            risks associated therewith, effectively preventing the public from discovering the existence and

            extent of any injuries/harm as alleged herein.

                    162.    On May 2, 2012, the EPA published its Third Unregulated Contaminant

            Monitoring Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty

            contaminants of concern between 2013 and 2015, including PFOS and PFOA.24




                24
                   Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water Systems, 77
            Fed. Reg: 26072 (May 2, 2012).

                                                                29
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filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      34 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)         1-1     Page 36 of 52NO. UNASSIGNED
                                                                                                        INDEX
NYSCEF DOC. NO. 1                                                                                 RECEIVED NYSCEF: 02/28/2022




                    163.     In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

            (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

            production and release into the environment of PFOA, called for greater regulation, restrictions,

            limits on the manufacture and handling of any PFOA containing product, and to develop safe

            non-fluorinated alternatives to these products to avoid long-term harm to human health and the

            environment.25

                    164.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

            effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

            2016. The EPA developed the HAs to assist governmental officials in protecting public health

            when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration

            of PFOS and PFOA in drinking water at or below which adverse health effects are not

            anticipated to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on

            peer-reviewed studies of the effects of PFOS and PFOA on laboratory animals (rats and mice)

            and were also informed by epidemiological studies of human populations exposed to PFOS.

            These studies indicate that exposure to PFOS and PFOA over these levels may result in adverse

            health effects, including:

                        a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                             birth weight, accelerated puberty, skeletal variations);

                        b. Cancer (testicular and kidney);

                        c. Liver effects (tissue damage);



                25
                   Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins C,
            Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and perfluoroalkyl
            substances (PFASs). Environ Health Perspect 123:A107–A111; http://dx.doi.org/10.1289/ehp.1509934.
               26
                  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects Support
            Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

                                                                 30
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approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      35 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)            1-1     Page 37 of 52NO. UNASSIGNED
                                                                                                           INDEX
NYSCEF DOC. NO. 1                                                                                   RECEIVED NYSCEF: 02/28/2022




                           d. Immune effects (e.g., antibody production and immunity);

                           e. Thyroid disease and other effects (e.g., cholesterol changes).

                       165.    In addition, PFOS and PFOA are hazardous materials because they pose a

            “present or potential threat to human health.”27

                       166.    In 2016, the National Toxicology Program of the United States Department of

            Health and Human Services (“NTP”) and the International Agency for Research on Cancer

            (“IARC”) both released extensive analyses of the expanding body of research regarding the

            adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

            immune hazard to humans” based on a “consistent pattern of findings” of adverse immune

            effects in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure

            was associated with suppression of immune responses in animal (toxicology) studies.28

                       167.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

            PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

            observed between exposure to the agent and cancer for which a causal interpretation is . . .

            credible.”29

                       168.     California has listed PFOA and PFOS to its Proposition 65 list as a chemical

            known to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act

            of 1986.30


               27
                  Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to
            PFOS as a “toxic compound” and a “hazardous chemical.”).
                28
                  See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph: Immunotoxicity
            Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept. 2016), at 1, 17, 19,
            available at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
                29
                    See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
            Polymer           Manufacture       (Dec.       2016),     at      27,      97,       available       at
            http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
                30
                     California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10, 2017 as

                                                                    31
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      36 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)           1-1     Page 38 of 52NO. UNASSIGNED
                                                                                                          INDEX
NYSCEF DOC. NO. 1                                                                                  RECEIVED NYSCEF: 02/28/2022




                     169.    The United States Senate and House of Representatives passed the National

            Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

            contamination from military bases, as well as devoting $7 Million toward the Investing in

            Testing Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to

            conduct a study into the long-term health effects of PFOA and PFOS exposure.31 The legislation

            also required that the Department of Defense submit a report on the status of developing a new

            military specification for AFFF that did not contain PFOS or PFOA.32

                     170.    In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

            and EPA released a draft toxicological profile for PFOS and PFOA and recommended the

            drinking water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33

                     171.    On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

            and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key

            milestone” in its efforts to “help communities address per- and polyfluoroalkyl substances

            (PFAS) nationwide.”34 Following a public comment period on its proposed decision, the EPA

            will decide whether to move forward with the process of establishing a national primary drinking

            water regulation for PFOA and PFOS.



            Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
            Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-65/crnr/chemicals-
            listed-effective-november-10-2017-known-state-california-cause.
                31
                    National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available at
            https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
                32
                  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to Congress,
            June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-aqueous-film-forming-
            foam-report-to-congress/.
                 33
                    ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
            https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
                34
                   Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water, Feb. 20,
            2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-pfoa-and-pfos-
            drinking-water.

                                                                  32
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      37 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 39 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   E.      AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                           Groundwater

                   172.    AFFF containing PFOS and/or PFOA, once it has been released to the

            environment, lacks characteristics that would enable identification of the company that

            manufactured that particular batch of AFFF or chemical feedstock.

                   173.    A subsurface plume, even if it comes from a single location, such as a retention

            pond or fire training area, originates from mixed batches of AFFF and chemical feedstock

            coming from different manufacturers.

                   174.    Because precise identification of the specific manufacturer of any given

            AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

            fire protection, training, and response activities, resulting in widespread PFAS contamination is

            nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

            severally.

                   175.    Defendants are also jointly and severally liable because they conspired to conceal

            the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

            containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.

                           MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                            CONCERT OF ACTION, AND ENTERPRISE LIABILITY

                   176.    Defendants in this action are manufacturers that control a substantial share of the

            market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical

            precursors in the United States and are jointly responsible for the contamination of the

            groundwater at the Site, affecting groundwater sources within the vicinity of the base. Market

            share liability attaches to all Defendants and the liability of each should be assigned according to

            its percentage of the market for AFFF/Component Products at issue in this Complaint.



                                                            33
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      38 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 40 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   177.     Because PFAS is fungible, it is impossible to identify the exact Defendant who

            manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

            chemical precursors found free in the air, soil or groundwater, and each of these Defendants

            participated in a territory-wide and U.S. national market for AFFF/Component Products during

            the relevant time.

                   178.     Concert of action liability attaches to all Defendants, each of which participated in

            a common plan to commit the torts alleged herein and each of which acted tortuously in

            pursuance of the common plan to knowingly manufacture and sell inherently dangerous

            AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors.

                   179.     Enterprise liability attaches to all the named Defendants for casting defective

            products into the stream of commerce.

                                                      CONSPIRACY

                   180.     Defendants actually knew of the health and environmental hazards which PFOA

            and PFOS posed to Plaintiffs.

                   181.          Beginning in the 1970s and continuing through the date of this Complaint,

            Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose

            of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

            public and to government agencies with the unlawful purpose of:

                       a.        Creating a market for AFFF/Component Products containing PFOA and/or

                                 PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                                 groundwater in Colorado and the residents who depend on such water;

                       b.        Concealing the environmental properties and toxic nature of PFOA and PFOS,

                                 and its impact on Plaintiffs and the environment; and



                                                             34
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      39 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1     Page 41 of 52NO. UNASSIGNED
                                                                                                  INDEX
NYSCEF DOC. NO. 1                                                                           RECEIVED NYSCEF: 02/28/2022




                       c.      Maximizing profits in a way Defendants knew or should have known would

                               result in the contamination of Plaintiffs’ drinking water.

                   182.     Defendants carried out their conspiracy by one or more of the following overt acts

            or omissions:

                       a.      Intentionally representing to the DOD, USAF, USEPA and the public that

                               AFFF/Component Products containing PFOA and PFOS were safe and did not

                               pose an environmental or human health risk;

                       b.      Concealing the dangers of PFOA and PFOS (including toxicological

                               information on the dangers of the chemicals to living organisms, adverse fate

                               and transport characteristics, and the propensity of PFOA and PFOS to

                               contaminate groundwater) from the government and the public by, among

                               other means, repeatedly requesting that information about the dangers and

                               health effects of PFOA and PFOS be suppressed and not otherwise published,

                               and by downplaying any adverse findings relating to PFOA and PFOS;

                       c.      Concealing the dangers of AFFF/Component Products containing PFOA and

                               PFOS from end users, sensitive receptors, public water suppliers, and the

                               users and consumers of groundwater;

                       d.      Using their considerable resources to fight PFOA and PFOS regulation; and

                       e.      Collectively deciding to use PFOA and/or PFOS rather than other, safer

                               surfactants because AFFF/Component Products containing PFOA and/or

                               PFOS were the most profitable surfactant for Defendants to use.

                   183.         As a direct and proximate result of the Defendants’ above-described

            conspiracy, PFOA and PFOS, at all times relevant to this litigation has:



                                                            35
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      40 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 42 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                       a.      Posed and continues to pose a health threat to Plaintiffs because it has

                               bioaccumulated in their bodies;

                       b.      Contaminated Plaintiffs’ property, soil, and groundwater, for those with

                               private water wells;

                       c.      Created the need for remediation of PFOA- and PFOS- contaminated

                               groundwater for those property owners who utilize private water wells, or,

                               where remediation of the groundwater is impractical, installation of a system

                               to filter out PFOA and PFOS or procurement of water from alternative

                               sources;

                                                 CAUSES OF ACTION

                                                    COUNT 1:
                                                DEFECTIVE DESIGN

                   184.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                   185.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants owed a duty to all persons whom its products might

            foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

            dangerous in design for its reasonably anticipated used.

                   186.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

            reasonably anticipated uses for the following reasons:

                       a. PFAS causes extensive groundwater contamination, even when used in its

                            foreseeable and intended manner;

                       b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                       c. PFAS poses significant threats to public health; and

                                                            36
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                      41 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 43 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                        d. PFAS create real and potential environmental damage.

                    187.     Defendants knew of these risks and failed to use reasonable care in the design of

            their AFFF/Component Products.

                    188.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

            danger to the environment and to human health than would be expected by ordinary persons such

            as Plaintiffs.

                    189.     At all times, Defendants were capable of making AFFF/Component Products that

            did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

            designs existed which were capable of preventing Plaintiffs’ injuries.

                    190.     The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

            precursors far outweigh the products’ utility as a flame-control product.

                    191.     The likelihood that Defendants’ AFFF/Component Products would be spilled,

            discharged, disposed of, or released into the environment and Plaintiffs’ water well has been, and

            continues to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

            significant injuries and damages that far outweighed any burden on Defendants to adopt an

            alternative design, and outweighed the adverse effect, if any, of such alternative design on the

            utility of the product.

                    192.     As a direct and proximate result of Defendants’ unreasonably dangerous design,

            manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

            chemical precursors, Plaintiffs’ water supply has been, and continues to be, contaminated with

            PFAS in varying amounts over time, causing Plaintiffs significant injuries and damages.

                    193.     Defendants knew that it was substantially certain that their acts and omissions

            described above would contaminate Plaintiffs’ water supply with PFAS in varying amounts over



                                                            37
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      42 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 44 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            time, causing Plaintiffs significant injuries and damages. Contamination that led to the exposure of

            Plaintiffs’ to toxins and increased their risk of numerous diseases. Defendants committed each of

            the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

            malice, and with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or

            property rights.

                                                        COUNT 2:
                                                    FAILURE TO WARN

                    194.       Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    195.       As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of

            these products to all persons whom its product might foreseeably harm, including Plaintiffs.

                    196.       Defendants’ AFFF/Component Products were unreasonably dangerous for its

            reasonably anticipated uses for the following reasons:

                        a. PFAS causes extensive groundwater contamination, even when used in its

                               foreseeable and intended manner;

                        b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                        c. PFAS poses significant threats to public health; and

                        d. PFAS create real and potential environmental damage.

                    197.       Defendants knew of the health and environmental risks associated with their

            AFFF/Component Products and failed to provide a warning that would lead an ordinary

            reasonable user or handler of a product to contemplate the dangers associated with their products

            or an instruction that would have avoided Plaintiffs’ injuries.




                                                              38
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
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accepted for filing by the County Clerk.                                                                      43 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)    1-1    Page 45 of 52NO. UNASSIGNED
                                                                                                  INDEX
NYSCEF DOC. NO. 1                                                                           RECEIVED NYSCEF: 02/28/2022




                     198.   Despite Defendants’ knowledge of the environmental and human health hazards

            associated with the use and/or disposal of their AFFF/Component Products in the vicinity of

            drinking water supplies, including PFAS contamination of the drinking supplies, Defendants failed

            to issue any warnings, instructions, recalls, or advice regarding their AFFF/Component Products to

            Plaintiff, governmental agencies or the public.

                     199.   As a direct and proximate result of Defendants’ failure to warn, Plaintiffs’ water

            supply has been, and continues to be, contaminated with PFAS in varying amounts over time,

            causing Plaintiffs significant injuries and damages. Further, this contamination led to the exposure

            of Plaintiffs to toxins and increased their probabilities of numerous diseases as more fully set forth

            above.

                     200.   Defendants knew that it was substantially certain that their acts and omissions

            described above would contaminate Plaintiffs water supply with PFAS in varying amount,

            causing Plaintiffs significant injuries and damages. Defendants committed each of the above-

            described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

            with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                       COUNT 3:
                                                      NEGLIGENCE

                     201.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                     202.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

            products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

            labeling, warning, and use of PFAS-containing AFFF.




                                                              39
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accepted for filing by the County Clerk.                                                                      44 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 46 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




                   203.    Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

            dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

            water was imminent and certain.

                   204.    Defendants knew or should have known that PFAS were leaching from AFFF

            used for fire protection, training, and response activities.

                   205.    Defendants knew or should have known that PFAS are highly soluble in water,

            highly mobile, extremely persistent in the environment, and high likely to contaminate water

            supplies if released into the environment.

                   206.    Defendants knew or should have known that the manner in which they were

            designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

            would result in contamination of Plaintiffs’ water supply with PFAS in varying amounts over

            time, causing Plaintiffs significant injuries and damages.

                   207.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

            can contaminate water resources and are carcinogenic, Defendants negligently:

                       a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                           marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                           PFOA, and/or their chemical precursors;

                       b. issued deficient instructions on how their AFFF/Component Products should be used

                           and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                           around the Site;

                       c. failed to recall and/or warn the users of their AFFF/Component Products of the

                           dangers of groundwater contamination as a result of standard use and disposal of

                           their products;



                                                              40
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                 2:22-cv-01286-RMG
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                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)    1-1     Page 47 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                           RECEIVED NYSCEF: 02/28/2022




                        d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                            AFFF/Component Products; and

                        e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

                            correct, or remedy any contamination after it occurred.

                    208.    The magnitude of the burden on the Defendants to guard against this foreseeable

            harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

            Defendants amounted to a burden to provide adequate instructions, proper labeling, and

            sufficient warnings about their AFFF/Component Products.

                    209.    As manufacturers, Defendants were in the best position to provide adequate

            instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

            to take steps to eliminate, correct, or remedy any contamination they caused.

                    210.    As a direct and proximate result of Defendants’ negligence, Plaintiffs’ water

            supply has been contaminated with PFAS, in varying amounts of time, causing Plaintiffs

            significant injuries and damages.

                    211.    Defendants knew that it was substantially certain that their acts and omissions

            described above would cause Plaintiffs’ water supply to be contaminated with PFAS in varying

            amounts over time, causing Plaintiffs significant injuries and damages. Defendants committed

            each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

            oppression, or malice, and with conscious and/or reckless disregard for Plaintiffs’ health and

            safety, and/or property rights.

                                                        COUNT 4:
                                                        TRESPASS

                    212.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:


                                                              41
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)       1-1    Page 48 of 52NO. UNASSIGNED
                                                                                                     INDEX
NYSCEF DOC. NO. 1                                                                              RECEIVED NYSCEF: 02/28/2022




                     213.     Plaintiffs are the owners, operators, and actual possessors of real property as

            defined herein.

                     214.     Defendants    designed,   manufactured,     distributed,     marketed,   and   sold

            AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

            containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

            PFAS that would migrate into groundwater, causing contamination.

                     215.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

            distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

            contaminate Plaintiffs’ property.

                     216.     As a direct and proximate result of Defendants’ trespass, Plaintiffs have suffered

            and continues to suffer property damage requiring investigation, remediation, and monitoring

            costs.

                     217.     Defendants knew that it was substantially certain that their acts and omissions

            described above would threaten public health and cause extensive contamination of property,

            including groundwater collected for drinking. Defendants committed each of the above-

            described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

            with conscious and/or reckless disregard for the health and safety of others, and for Plaintiffs’

            property rights.

                                               COUNT 5:
                            ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                     218.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                     219.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

            “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,


                                                              42
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)   1-1    Page 49 of 52NO. UNASSIGNED
                                                                                                 INDEX
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 02/28/2022




            including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

            assuming significant liabilities (the “Assumed Liabilities”).

                   220.    The Transfers and Assumed Liabilities were made for the benefit of DuPont.

                   221.    At the time that the Transfers were made and the Liabilities were assumed, and

            until the Spinoff was complete, DuPont was in a position to, and in fact did, control and

            dominate Chemours Co.

                   222.    The Fraudulent Transfer Defendants made the Transfers and incurred the

            Assumed Liabilities with the actual intent to hinder, delay, and defraud the creditors or future

            creditors of Chemours Co.

                   223.    Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

            Defendants.

                   224.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

            transferred to DuPont.

                                         COUNT 6:
                   CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                   225.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                   226.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

            for the Transfers and Assumed Liabilities.

                   227.    Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

            Co. was made to or for the benefit of DuPont.

                   228.    At the time that the Transfers were made, and the Assumed Liabilities were

            assumed, and until the Spinoff was complete, DuPont was in a position to, and in fact did, control

            and dominate Chemours Co.


                                                            43
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accepted for filing by the County Clerk.                                                                      48 of 51
                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)     1-1    Page 50 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                            RECEIVED NYSCEF: 02/28/2022




                    229.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

            Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

            remaining assets were unreasonably small in relation to its business.

                    230.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

            Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

            Liabilities.

                    231.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

            Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

            have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                    232.   Plaintiffs have been harmed as a result of the Transfers.

                    233.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

            transferred to DuPont.

                                                      COUNT 6:
                                                 PUNITIVE DAMAGES

                    234.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    235.   Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

            caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                    236.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is

            not limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

            released into the environment and inevitably to Plaintiffs’ water supply which was contaminated

            and continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

            significant injury and damage.




                                                             44
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)     1-1    Page 51 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                            RECEIVED NYSCEF: 02/28/2022




                   237.    Defendants have caused great harm to Plaintiff, acting with implied malice and an

            outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

            punitive damages is warranted.

                                                 PRAYER FOR RELIEF

                   WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

            jointly and severally, and request the following relief from the Court:

                       a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                           wanton, and careless disregard for the health, safety of Plaintiffs;

                       b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                           and punitive damages;

                       c. an order for an award of attorney fees and costs, as provided by law;

                       d. pre-judgment and post-judgment interest as provided by law;

                       e. compensatory damages according to proof including, but not limited to:

                                   i. costs and expenses related to the past, present, and future
                                      investigation, sampling, testing, and assessment of the extent of PFAS
                                      contamination at Plaintiffs’ water source;

                                   ii. costs and expenses related to past, present, and future treatment and
                                       remediation of PFAS contamination at Plaintiffs’ water source; and

                                   iii. costs and expenses related to past, present, and future installation and
                                        maintenance of filtration systems to assess and evaluate PFAS at
                                        Plaintiffs’ water source;

                       f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                           Complaint;

                       g. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                           wrongful conduct in the future;

                       h. an award of consequential damages;


                                                              45
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                 2:22-cv-01286-RMG
CAUTION: THIS DOCUMENT                     Date Filed
                       HAS NOT YET BEEN REVIEWED BY THE04/01/22    Entry
                                                        COUNTY CLERK. (SeeNumber
                                                                           below.)     1-1    Page 52 of 52NO. UNASSIGNED
                                                                                                   INDEX
NYSCEF DOC. NO. 1                                                                            RECEIVED NYSCEF: 02/28/2022




                       i. an order for an award of attorney fees and costs, as provided by law;

                       j. an award of pre-judgment and post-judgment interest as provided by law; and

                       k. an order for all such other relief the Court deems just and proper.

                                             DEMAND FOR JURY TRIAL

                   Plaintiffs demand a trial by jury of all issues so triable as a matter of right.



            DATED this 28th day of February, 2022

                                                           Respectfully submitted,

                                                           NAPOLI SHKOLNIK

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                                                              46
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